Case: 1:17-md-02804-DAP Doc #: 2208-12 Filed: 08/13/19 1 of 5. PageID #: 334788




                    PSJ11 CVS Opp Exh 12
Case: 1:17-md-02804-DAP Doc #: 2208-12 Filed: 08/13/19 2 of 5. PageID #: 334789 MR 91 - 001
Case: 1:17-md-02804-DAP Doc #: 2208-12 Filed: 08/13/19 3 of 5. PageID #: 334790 MR 91 - 002
Case: 1:17-md-02804-DAP Doc #: 2208-12 Filed: 08/13/19 4 of 5. PageID #: 334791 MR 91 - 003
Case: 1:17-md-02804-DAP Doc #: 2208-12 Filed: 08/13/19 5 of 5. PageID #: 334792 MR 91 - 004
